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                          Philip Domenico· Non-Confidential
                                   August 30, 2022

  · · · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
  · · · · · · · · · · · FOR THE DISTRICT OF COLORADO
  ·
  · · · · · · · · · ·Civil Action No. 1:21-CV-3417-NYW
  ·

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  · · HOLLY KLUTH,

  · · · · · · · Plaintiff,

  · · vs.

  · · TONY SPURLOCK,
  · · Individually and in his official
  · · capacity as Douglas County Sheriff,

  · · · · · · · Defendant.
  · · _____________________________________
  ·

  · · · · · · · · · · · DEPOSITION OF PHILIP DOMENICO

  · · · · · · ******* NON-CONFIDENTIAL PORTIONS ONLY *********

  · · · · · ·DATE TAKEN:· · · ·August 30, 2022

  ·   · · · · ·TIME:· · · · · · ·9:37 a.m. - 6:42 p.m.
  ·   · · · · · · · · · · · · · ·(Based on Time Zone from Notice)
  ·
  ·   · · · · ·LOCATION:· · · · ·Rathod Mohamedbahai, LLC
  ·   · · · · · · · · · · · · · ·2701 Lawrence Street, Suite 100
  ·   · · · · · · · · · · · · · ·Denver, Colorado 80205
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  · · Reported By:
  · · Jessica Wharton, Certified Court Reporter
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         SPURLOCK Reply in Support of Motion for Summary Judgment, Exhibit W
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  ·1· supervisor makes some kind of a log entry, whether that be

  ·2· positive or negative, that would be in there.· I think we would

  ·3· put in their personnel action forms; you know, whenever there

  ·4· was a pay adjustment, it gets put into Guardian Tracking.                I

  ·5· guess I could look at it and tell you more things.

  ·6· · · ·Q.· ·Well, let me ask you a couple of questions about what

  ·7· you've already said.

  ·8· · · · · · What's a supervisor log entry?

  ·9· · · ·A.· ·So if somebody does something that's either noteworthy

  10· or -- or if you want to -- if they did something that you want

  11· to bring to their attention as an expectation for improvement,

  12· you can go into the Guardian Tracking and put a narrative in

  13· there, and then they get a chance to see that and respond to it,

  14· and then people within that individual's chain of command can

  15· also see that entry and respond to it as well.

  16· · · ·Q.· ·So if an entry is in Guardian Tracker, does that

  17· suggest that it is noteworthy in some manner?

  18· · · ·A.· ·Yes.

  19· · · ·Q.· ·Do -- are most -- are noteworthy performance issues

  20· supposed to be documented via a supervisor log entry?

  21· · · · · · MR. THAPA:· Object to form.· You may answer.

  22· · · · · · THE WITNESS:· So your question as it states is, are

  23· · · ·they supposed to be in there?· So the answer is, no, that's

  24· · · ·up to the individual supervisor, what they would put in

  25· · · ·there.


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                                   August 30, 2022

  ·1· · · · · · · · · · · ·CERTIFICATE OF REPORTER

  ·2

  ·3· STATE OF COLORADO

  ·4· COUNTY OF DENVER

  ·5· · · ·I, Jessica Wharton, Certified Court Reporter, State of

  ·6· Colorado, do hereby certify that I was authorized to and did

  ·7· electronically report the deposition of PHILIP DOMENICO; that

  ·8· PHILIP DOMENICO was duly sworn on the date indicated; that the

  ·9· questions and answers thereto were reduced to typewriting under

  10· my direction; that a review of the transcript was requested; and

  11· that the foregoing is a true and accurate electronic recording

  12· of the proceedings.

  13· · · ·I FURTHER CERTIFY that I am not a relative, employee, or

  14· attorney, or counsel of any of the parties, nor am I a relative

  15· or employee of any of the parties' attorneys or counsel

  16· connected with the action, nor am I financially interested in

  17· the action.

  18

  19· · · ·DATED this 27th of September of 2022.

  20

  21

  22· · · ·_________________________________________
  · · · · ·Jessica Wharton, Certified Court Reporter
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  ·1· · · · · · · · · ·CERTIFICATE OF TRANSCRIPTIONIST

  ·2

  ·3· · · ·I, Austin Goodrich, do hereby certify that I transcribed

  ·4· the electronic recording produced by Jessica Wharton, Certified

  ·5· Court Reporter, State of Colorado, of the deposition of PHILIP

  ·6· DOMENICO on the record; and that the foregoing transcript is a

  ·7· true transcript of said electronic recording.

  ·8· · · ·I FURTHER CERTIFY that I am not a relative, employee,

  ·9· attorney, or counsel of any of the parties, nor am I a relative

  10· or employee of any of the parties' attorneys or counsel

  11· connected with the action, nor am I financially interested in

  12· the action.

  13

  14· · · ·DATED this 27th of September of 2022.

  15

  16

  17· · · ·__________________________________
  · · · · ·Austin Goodrich
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